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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF NEW YORK

                                                            )
In re:                                                      ) Chapter 11
                                                            )
CHARTER COMMUNICATIONS, INC., et al.,                       ) Case No. 09-11435 (JMP)
                                                            )
                                                            )
                          Debtors.                          ) Jointly Administered
                                                            )

            ORDER EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS TO
               FILE AND SOLICIT VOTES FOR A CHAPTER 11 PLAN
            PURSUANT TO SECTION 1121(D) OF THE BANKRUPTCY CODE

         Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors” or “Charter”),2 seeking entry of an order (the “Order”)



1   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Motion.

2   The Debtors in these cases include: Ausable Cable TV, Inc.; Hometown TV, Inc.; Plattsburgh Cablevision,
    Inc.; Charter Communications Entertainment I, LLC; Falcon First Cable of New York, Inc.; Charter
    Communications, Inc.; Charter Communications Holding Company, LLC; CCHC, LLC; Charter
    Communications Holdings, LLC; CCH I Holdings, LLC; CCH I, LLC; CCH II, LLC; CCO Holdings, LLC;
    Charter Communications Operating, LLC; American Cable Entertainment Company, LLC; Athens Cablevision,
    Inc.; Cable Equities Colorado, LLC; Cable Equities of Colorado Management Corp.; CC 10, LLC; CC
    Fiberlink, LLC; CC Michigan, LLC; CC Systems, LLC; CC V Holdings, LLC; CC VI Fiberlink, LLC; CC VI
    Operating, LLC; CC VII Fiberlink, LLC; CC VIII Fiberlink, LLC; CC VIII Holdings, LLC; CC VIII Leasing of
    Wisconsin, LLC; CC VIII Operating, LLC; CC VIII, LLC; CCH I Capital Corp.; CCH I Holdings Capital
    Corp.; CCH II Capital Corp.; CCO Fiberlink, LLC; CCO Holdings Capital Corp.; CCO NR Holdings, LLC;
    CCO Purchasing, LLC; Charter Advertising of Saint Louis, LLC; Charter Cable Leasing of Wisconsin, LLC;
    Charter Cable Operating Company, L.L.C.; Charter Cable Partners, L.L.C.; Charter Communications
    Entertainment, LLC; Charter Communications Entertainment I, DST; Charter Communications Entertainment
    II, LLC; Charter Communications Holdings Capital Corporation; Charter Communications Operating Capital
    Corp.; Charter Communications Properties LLC; Charter Communications V, LLC; Charter Communications
    Ventures, LLC; Charter Communications VI, LLC; Charter Communications VII, LLC; Charter
    Communications, LLC; Charter Distribution, LLC; Charter Fiberlink – Alabama, LLC; Charter Fiberlink AR-
    CCVII, LLC; Charter Fiberlink AZ-CCVII, LLC; Charter Fiberlink CA-CCO, LLC; Charter Fiberlink CA-
    CCVII, LLC; Charter Fiberlink CC VIII, LLC; Charter Fiberlink CCO, LLC; Charter Fiberlink CT-CCO, LLC;
    Charter Fiberlink – Georgia, LLC; Charter Fiberlink ID-CCVII, LLC; Charter Fiberlink – Illinois, LLC; Charter
    Fiberlink IN-CCO, LLC; Charter Fiberlink KS-CCO, LLC; Charter Fiberlink LA-CCO, LLC; Charter Fiberlink
    MA-CCO, LLC; Charter Fiberlink – Michigan, LLC; Charter Fiberlink – Missouri, LLC; Charter Fiberlink MS-
    CCVI, LLC; Charter Fiberlink NC-CCO, LLC; Charter Fiberlink NC-CCVII, LLC; Charter Fiberlink –
    Nebraska, LLC; Charter Fiberlink NH-CCO, LLC; Charter Fiberlink NM-CCO, LLC; Charter Fiberlink NV-
    CCVII, LLC; Charter Fiberlink NY-CCO, LLC; Charter Fiberlink NY-CCVII, LLC; Charter Fiberlink OH-
    CCO, LLC; Charter Fiberlink OK-CCVII, LLC; Charter Fiberlink OR-CCVII, LLC; Charter Fiberlink SC-
                                                                                                   (Continued…)
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Extending the Debtors’ Exclusive Periods to File and Solicit Votes for a Chapter 11 Plan

Pursuant to Section 1121(d) of the Bankruptcy Code; and it appearing that this Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this

proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that venue of

this proceeding and this Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and it appearing that the relief requested is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and notice of the Motion appearing to be adequate and

appropriate under the circumstances; and any objections to the requested relief having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefore, it is hereby ORDERED that:

       1.       The Motion is granted to the extent provided herein.

       2.       The Debtors’ Exclusive Filing Period is extended by 120 days to March 22, 2010.

       3.       The Debtors’ Exclusive Solicitation Period is extended by 120 days to

May 21, 2010.




   CCO, LLC; Charter Fiberlink SC-CCVII, LLC; Charter Fiberlink – Tennessee, LLC; Charter Fiberlink TX-
   CCO, LLC; Charter Fiberlink UT-CCVII, LLC; Charter Fiberlink VA-CCO, LLC; Charter Fiberlink VT-CCO,
   LLC; Charter Fiberlink WA-CCVII, LLC; Charter Fiberlink – Wisconsin, LLC; Charter Fiberlink WV-CCO,
   LLC; Charter Fiberlink, LLC; Charter Gateway, LLC; Charter Helicon, LLC; Charter Investment, Inc.; Charter
   RMG, LLC; Charter Stores FCN, LLC; Charter Video Electronics, Inc.; Dalton Cablevision, Inc.; Enstar
   Communications Corporation; Falcon Cable Communications, LLC; Falcon Cable Media, a California Limited
   Partnership; Falcon Cable Systems Company II, L.P.; Falcon Cablevision, a California Limited Partnership;
   Falcon Community Cable, L.P.; Falcon Community Ventures I, LP; Falcon First Cable of the Southeast, Inc.;
   Falcon First, Inc.; Falcon Telecable, a California Limited Partnership; Falcon Video Communications, L.P.;
   Helicon Partners I, L.P.; HPI Acquisition Co., L.L.C.; Interlink Communications Partners, LLC; Long Beach,
   LLC; Marcus Cable Associates, L.L.C.; Marcus Cable of Alabama, L.L.C.; Marcus Cable, Inc.; Midwest Cable
   Communications, Inc.; Pacific Microwave; Peachtree Cable TV, L.P.; Peachtree Cable T.V., LLC; Renaissance
   Media LLC; Rifkin Acquisition Partners, LLC; Robin Media Group, Inc.; Scottsboro TV Cable, Inc.;
   Tennessee, LLC; The Helicon Group, L.P.; Tioga Cable Company, Inc.; and Vista Broadband Communications,
   LLC.




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       4.      This Order is without prejudice to the Debtors’ ability to seek further extensions

of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

       5.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       6.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       7.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.


Dated: New York, New York
       November 19, 2009
                                        s/ James M. Peck
                                      Honorable James M. Peck
                                      United States Bankruptcy Judge




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